                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA                     )
                                              )          Criminal No. 2:22-cr-125
                     v.                       )
                                              )          (18 U.S.C. §§ 1347 and 2)
 LARRY J. GOISSE, JR.                         )

                                       INFORMATION

                              COUNTS ONE THROUGH FIVE

              The United States Attorney charges:

              1.      At all times material to this Information:

                      a.     The Centers for Medicare and Medicaid Services, also known as

CMS, was a federal agency within the United States Department of Health and Human Services,

which administered the Medicare program.

                      b.     Medicare was a health care benefit program, as defined in Title 18,

United States Code, Section 24(b), which provided medical assistance and related services to

individuals. CMS administered the Medicaid program at the federal level.

                      c.     The Medicare program included coverage under three primary

components, hospital insurance (Part A), medical insurance (Part B), and prescription drugs (Part

D). Part B of Medicare covered the cost of physicians’ services and other ancillary services not

covered by Part A. Part D of Medicare provides for prescription drug coverage. The claims at

issue in this Information were submitted under Part B of the Medicare program.

                      d.     By becoming a participating provider in Medicare, enrolled

providers agreed to abide by the policies and procedures, rules, and regulations governing

reimbursement. To receive Medicare funds, enrolled providers, together with their authorized

agents, employees, and contractors, were required to abide by all the provisions of the Social
Security Act, the regulations promulgated under the Act, and applicable policies and procedures,

rules, and regulations, issued by CMS and its authorized agents and contractors.            Upon

certification, the medical provider, whether a clinic or an individual, was assigned a provider

identification number for billing purposes (referred to as a “PIN”). When the medical provider

rendered a service, the provider submitted a claim for reimbursement to the Medicare

contractor/carrier that included the PIN assigned to that medical provider. When an individual

medical provider was associated with a clinic, Medicare Part B required that the individual

provider number associated with the clinic be placed on the claim submitted to the Medicare

contractor.

                       e.      Health care providers were given and/or provided with online access

to Medicare manuals and services bulletins describing proper billing procedures and billing rules

and regulations. Providers could only submit claims to Medicare for services they rendered, and

providers were required to maintain patient records to verify that the services were provided as

described on the claim form.

                       f.      To receive reimbursement for a covered service from Medicare, a

provider was required to submit a claim, either electronically or using a form (e.g., a CMS-1500

form or UB-92), containing the required information appropriately identifying the provider,

patient, and services rendered.

                       g.      The defendant, LARRY J. GOISSE, JR, was a licensed nurse

practitioner in the Commonwealth of Pennsylvania.           Effective September 11, 2018, the

Pennsylvania State Board of Nursing suspended the defendant’s license to practice as a certified

registered nurse practitioner with prescriptive authority in the Commonwealth of Pennsylvania.




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                                     The Scheme to Defraud

                2.     From in and around September 2018, and continuing thereafter to in and

around January 2019, the defendant, LARRY J. GOISSE, JR, caused false claims to be submitted

to Medicare because on the dates specified as to each count below, the defendant, LARRY J.

GOISSE, JR, was not licensed to practice as a certified registered nurse practitioner in the

Commonwealth of Pennsylvania and was not entitled to reimbursement for patient services from

Medicare.

                3.     On or about the dates specified as to each count below, in the Western

District of Pennsylvania and elsewhere, the defendant, LARRY J. GOISSE, JR, in connection with

the delivery of and payment for health care benefits, items, and services, did knowingly and

willfully execute, and attempt to execute, the above-described scheme and artifice to defraud a

health care benefit program and affecting interstate commerce, that is, Medicare, and to obtain, by

means of materially false and fraudulent pretenses, representations, and promises, money and

property owned by, and under the custody and control of, said health care benefit program by

submitting false and fraudulent claims for reimbursement for office visits, for the following

beneficiaries on the dates set forth below:

          Count                Medicare Beneficiary                     Claim Date
            1                           M.M                             09/18/2018

            2                           L.G.                            09/22/2018
            3                           C.N.                            09/26/2018
            4                            J.S.                           09/29/2018
            5                            T.E.                           10/08/2018




                                                3
All in violation of Title 18, United States Code, Sections 1347 and 2.




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